       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-KDE-MBN        6-10 613
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                     MDL NUMBER: 2740
       PRODUCTS LIABILITY
       LITIGATION
                                                                SECTION: “N”(5)

THIS DOCUMENT RELATES TO
ALL CASES


                                          ORDER

       The Court’s orders of July 5, 207 (rec. docs. 611, 612) are hereby amended to indicate

that the former order (Electronically Stored Information Protocol) is designated as Pre-Trial

Order No. 49 and the latter order (Protective Order) is designated as Pre-Trial Order No. 50.

       New Orleans, Louisiana, this 6th    day of            July             , 2017.




                                                   MICHAEL B. NORTH
                                             UNITED STATES MAGISTRATE JUDGE
